        11-36227-cgm               Doc 18          Filed 08/23/11 Entered 08/23/11 21:03:05                                    Main Document
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Form 210A (12/09)                                 United States Bankruptcy Court
                                                               SOUTHERN DISTRICT OF NY


            In Re: SPAGNOLA; WALTER                                             Case No. 1136227


                                            TRANSFER OF CLAIM OTHER THAN FOR SECURITY

            A CLAIM HAS BEEN FILED IN THIS CASE, or deemed filed under 11 U.S.C. § 1111 (a). Transferee hereby gives
            evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
            referenced in the evidence and notice.



            PRA Receivables Management, LLC., as agent of
            Portfolio Recovery Associates, LLC                                  Chase Bank USA, N.A.
            --------------------------------------------                        --------------------------------------------
            Name of Transferee                                                  Name of Transferor



            Name and Address where notices to transferee                        Court Claim # (if known): 5
            should be sent:                                                     Amount of Claim: $9,472.24
            POB 41067                                                           Date Claim Filed: 06/07/2011
            Norfolk, VA 23541



            Phone: (877)829-8298                                                Phone:
            Last Four Digits of Acct # : 2982                                   Last Four Digits of Acct #:

            Name and Address where transferee payments                          Seller Information
            Should be sent (if different from above)                            CHASE BANK USA N.A.
            POB 12914                                                           600 Business Center Drive Floor 03
            Norfolk, VA 23541                                                   Heathrow FL 32746

            Phone: (877)829-8298
            Last Four Digits of Acct # : 2982




            I declare under penalty of perjury that the information provided in this notice is true and correct to the best of
            knowledge and belief.

            By: /s/ Carol E. Hardy                                              Date: 8/1/2011
                --------------------------------------------
                Transferee/Transferee’s Agent



            Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571
